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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION

JUAN BAUTISTA LUGO,

          Petitioner,

v.                                                       Case No. 8:08-CV-563-T-30MSS
                                                          Crim. No. 8:04-CR-457-T-30MSS
UNITED STATES OF AMERICA,

      Respondent.
_____________________________________/

                                                ORDER

          THIS CAUSE came before the Court for evidentiary hearing on September 15, 2008,
upon the Petitioner’s Motion to Vacate, Set Aside or Correct Sentence Pursuant to U.S.C.
§2255. Based on the findings of fact stated in open Court, the Petitioner’s Motion to Vacate,
Set Aside or Correct Sentence Pursuant to U.S.C. §2255 (Dkt. #1) is DENIED. It is therefore
          ORDERED AND ADJUDGED that:
          1.        Petitioner’s Motion to Vacate, Set Aside or Correct Sentence Pursuant to U.S.C.
§2255 (Dkt. #1) is DENIED.
          2.        The Clerk is directed to terminate any pending motions and close this file.
          3.        The Clerk is directed to terminate from pending status the Motion to Vacate, Set
Aside or Correct Sentence Pursuant to U.S.C. §2255 (CR Dkt. #553) in the underlying
criminal case number 8:04-cr-457-T-30MSS.
          DONE and ORDERED in Tampa, Florida on September 16, 2008.




Copies furnished to:
Counsel/Parties of Record
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